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UNITED STATES OF AMERICA

                       UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,                     ) Crim. No. 21-00061 LEK
                                               )
                     Plaintiff,                ) FINAL ORDER OF
                                               ) FORFEITURE
              vs.                              )
                                               )
 MARTIN KAO,                                   )
                                               )
                     Defendant.                )
                                               )


                         FINAL ORDER OF FORFEITURE

      WHEREAS, on August 31, 2023, this Court entered an Order of Forfeiture

(Money Judgment) and Preliminary Order of Forfeiture in which the Court ordered

the forfeiture of all of defendant Martin Kao’s right, title, and interest in the
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following property (the “Forfeitable Property”), which was seized on or about

September 30, 2020:

              i.   $693,986.72 seized from defendant’s business operating
                   account: Central Pacific Bank Account No. xxxxxx9145;

             ii.   $8,000,000.00 seized from defendant’s business investment
                   account: Merrill Lynch Account No. xxx-x3506;

            iii.   $2,000,000.00 seized from defendant’s personal investment
                   account: Merrill Lynch Account No. xxx-x2641; and

            iv.    $20,200.00 from defendant’s personal checking account: First
                   Hawaiian Bank Account No. xx-xx1787 ; and

      WHEREAS the United States caused notice of this forfeiture to be published

on an official government website (www.forfeiture.gov) for at least 30 consecutive

days, beginning on September 2, 2023, as directed by the United States Attorney

General in accordance with 21 U.S.C. § 853(n)(1), and as evidenced by the Notice

of Filing Declaration of Internet Publication, filed on October 3, 2023 (ECF No.

121); and

      WHEREAS the United States has, to the extent practicable, provided written

notice to those persons known to have an alleged interest in the Forfeitable

Property; and

      WHEREAS no timely claim to the Forfeitable Property has been filed or

received; and


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      WHEREAS the Court finds that the defendant, or any combination of

defendants convicted in the case, had an interest in the Forfeitable Property, which

is subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461

and/or 18 U.S.C. § 982(a)(1); and

      WHEREAS, pursuant to 21 U.S.C. § 853(n)(7), as incorporated by 28

U.S.C. § 2461 and 18 U.S.C. § 982(b)(1), the United States is therefore entitled to

have clear title to the Forfeitable Property and to warrant good title to any

subsequent purchaser or transferee; and

      WHEREAS good and sufficient cause has been shown,

      It is hereby ORDERED, ADJUDGED, AND DECREED:

      THAT a Final Order of Forfeiture is entered against the Forfeitable Property,

which was seized on or about September 30, 2020, specifically:

             i.     $693,986.72 seized from defendant’s business operating
                    account: Central Pacific Bank Account No. xxxxxx9145;

            ii.     $8,000,000.00 seized from defendant’s business investment
                    account: Merrill Lynch Account No. xxx-x3506;

           iii.     $2,000,000.00 seized from defendant’s personal investment
                    account: Merrill Lynch Account No. xxx-x2641; and

           iv.      $20,200.00 from defendant’s personal checking account: First
                    Hawaiian Bank Account No. xx-xx1787 ; and

no right, title, or interest in the Forfeitable Property shall exist in any other party;


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      THAT the Forfeitable Property is hereby forfeited to the United States of

America pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461; and

      THAT all right, title, and interest in the Forfeitable Property, as well as any

income derived as a result of the management of the property by any United States

agency that has had custody of the Forfeitable Property, are hereby condemned,

forfeited, and vested in the United States of America and shall be disposed of

according to law.

      ORDERED.

      DATED: HONOLULU, HAWAII, December 14, 2023.




USA v. Martin Kao; Criminal No. 21-00061 LEK; “Final Order of Forfeiture”




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